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   DISTRICT COURT, COUNTY OF BOULDER
   STATE OF COLORADO
   1777 6TH St.,                                     DATE FILED: September 22, 2021 2:58 PM
   Boulder, Colorado 80302                           FILING ID: DAAF96F5543E3
   Phone: 303-441-3750                               CASE NUMBER: 2021CV30704



   Plaintiff:

   JULIET (“JULIE”) GETZEL

   vs.

   Defendants:

   ATS SPECIALIZED, INC., a foreign corporation;
   ANDERSON TRUCKING SERVICE, INC., a/k/a ATS,
   INC., a foreign corporation; and
   ARTHUR EDWIN CARROLL III, an individual.                      COURT USE ONLY 
   .

   Attorneys for Plaintiff:

   William Babich, #11162
   BABICH LAW FIRM, LLC
   2750 S. Wadsworth Blvd.
   Suite C-206
   Denver, Colorado 80227
   Phone: (303) 691-5222
   Fax: (303) 691-5136

   and

   Jeremy Rosenthal, #34538
   LAW FIRM OF JEREMY ROSENTHAL                                  Case No:
   4100 E. Mississippi Ave., Floor 19
   Denver, Colorado 80246                                        Div/Ctrm:
   Phone: (303) 825-2223
   Fax: (303) 825-2224


                              COMPLAINT AND JURY DEMAND


          COMES NOW, Plaintiff, Juliet Getzel, by and through her attorneys of record, BABICH
  LAW FIRM, LLC, and the LAW FIRM OF JEREMY ROSENTHAL, and for her Complaint
  against the above-captioned Defendants, states and alleges as follows:
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                                  JURISDICTION AND VENUE

        1.      Plaintiff Juliet “Julie” Getzel (hereinafter “Julie Getzel”) resided in Boulder,
  County, Colorado, at the time of the subject collision, and continues to reside in Boulder,
  County, County.

         2.      The subject collision occurred in the City and County of Boulder, State of
  Colorado.

          3.      At all times pertinent hereto, Defendant ATS Specialized, Inc. (hereinafter
  referred to as “ATS Specialized”) was a foreign corporation, located at 725 Opportunity Drive,
  St. Cloud, MN 56301.

        4.     At all times pertinent hereto, Defendant Anderson Trucking Service, Inc., a/k/a
  ATS, INC. (hereinafter referred to as "Anderson Trucking") was a foreign corporation, located at
  725 Opportunity Drive, St. Cloud, MN 56301.

          5.     At all times pertinent hereto, upon information and belief, Defendant Arthur
  Edwin Carroll III (hereinafter referred to as “Defendant Carroll”) was a resident of a foreign
  state, who was operating a tractor with semi-trailer in Colorado at all times pertinent hereto.

         6.      Venue is proper pursuant to C.R.C.P. 98(c)(5).

                                 PRELIMINARY ALLEGATIONS

          7.     At all times pertinent to this action, Defendant ATS Specialized, was a motor
  carrier governed by the Federal Motor Carrier Safety Regulations (FMCSR), operating in
  interstate commerce under U.S. Department of Transportation (DOT) Motor Carrier No. 606056.

          8.     At all times pertinent to this action, Defendant Anderson Trucking was a motor
  carrier governed by the Federal Motor Carrier Safety Regulations (FMCSR), operating in
  interstate commerce under U.S. Department of Transportation (DOT) Motor Carrier No. 606920.

         9.       Upon information and belief, at all times pertinent to this action, Defendant
  Anderson and/or Defendant ATS Specialized operated the subject Peterbilt tractor with flatbed
  semi-trailer described herein in its trucking motor carrier operations.

          10.   On or about January 4, 2019, at approximately 11:15 a.m., truck driver Defendant
  Carroll was operating the subject ATS and/or Anderson Trucking 2018 Peterbilt tractor VIN:
  1XPBDP5JD459023, Indiana license plate number 2533277, with flatbed semi-trailer.

           11.   Upon information and belief, at all times pertinent, the subject 2018 Peterbilt
  tractor, VIN: 1XPBDP5JD459023, Indiana license plate number 2533277, was registered to and
  owned by Defendant Anderson Trucking and operated by Defendant ATS Specialized and/or
  Defendant Anderson Trucking.
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          12.    The semi-trailer involved in the subject collision, connected to the tractor driven
  by Defendant Carroll, VIN: 1TTF532A3D3779149, which is considered its own unit or vehicle
  with its own additional coverage, upon information and belief was owned and operated at all
  times pertinent by Defendant Anderson and/or Defendant ATS Specialized.

          13.    Upon information and belief, at all times pertinent, the subject Peterbilt tractor
  with flatbed semi-trailer was operated by Defendant ATS Specialized and/or Defendant
  Anderson Trucking.

          14.    At all times pertinent to this action, Defendant Carroll was engaged, employed,
  entrusted, and allowed by Defendant ATS Specialized and/or Defendant Anderson Trucking to
  operate the subject Peterbilt tractor with flatbed semi-trailer.

         15.     At all times pertinent to this action, Defendant Carroll was a permissive user of
  the subject Peterbilt tractor with flatbed semi-trailer.

          16.     At all times pertinent to this action, Defendant Carroll was operating the Peterbilt
  tractor with flatbed semi-trailer within the course and scope of his employment and/or agency
  with Defendant ATS Specialized and/or Defendant Anderson Trucking.

         17.     At all times pertinent to this action, Defendant Carroll was making a left turn
  from the outside left turn lane from southbound 30th St., onto eastbound Baseline Road in
  Boulder, Colorado.

          18.       At the same time, Plaintiff Julie Getzel was a driver making a left turn in the
  inside left turn lane from southbound 30th St., onto eastbound Baseline Road in Boulder,
  Colorado.

          19.     On or about January 4, 2019, Defendant Carroll operated the subject Peterbilt
  tractor with flatbed trailer in such a manner as to cause the flatbed trailer to enter the inside left
  hand turn lane and collide with the Plaintiff's car, sending it onto the center median.

          20.       Plaintiff's vehicle was totaled by the collision.

         21.     Defendant Carroll was cited for violating, C.R.S. 42-4-1402(1)(2)(B), careless
  driving causing injury.

         22.     As a direct and proximate result of the acts and omissions of Defendants, and
  each of them, Plaintiff Julie Getzel sustained personal injuries including but not limited to:

                   highly comminuted and intra-articular distal radius fracture of the right
                    wrist for which she underwent right distal radius open reduction and
                    internal fixation surgery;
                   subsequent right distal radius removal of instrumentation surgery;
                   partial scapholunate interosseous ligament tear;
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                high-grade partial cartilage loss along the ulnar corner of the lunate and full
                 thickness central zone triangular fibrocartilage complex (TFCC) tear, both
                 consistent with post-traumatic impaction syndrome, which required
                 triangular fibrocartilage complex debridement, as well as scapholunate
                 interosseous ligament debridement and thermal shrinkage; and
                post-traumatic arthritis.

          23.     As a further direct and proximate result of the acts and omissions of Defendants,
  and each of them, Plaintiff Julie Getzel incurred in the past and will continue to incur into the
  future: economic damages, including but not limited to: economic damages including but not
  limited to past and future medical and other health care and rehabilitation expenses, life care
  expenses, loss of earnings, impairment of earning capacity; loss of household services; loss of
  time; and, non-economic damages, including but not limited to past and future: inconvenience,
  physical pain and mental suffering, and loss of quality and enjoyment of life; and permanent
  physical impairment and disfigurement damages; all to her damage in an amount to be
  determined at trial.

           24.    As a direct and proximate result of the acts and omissions of Defendants, and
  each of them due: wrist immobility due to pain and physical impairment from the injuries,
  Plaintiff Julie Getzel has, by way of example, has difficulty: working, typing, participating in
  sports activities, doing chores around the house including child and pet care, and sleeping well
  through the night; and has lost personal time and quality time for pursuing social and recreational
  activities.

         25.    Plaintiff Julie Getzel is entitled to interest on her damages, including pre-
  judgment interest pursuant to C.R.S. 13-21-101, from the time of the event, compounded
  annually from the date of filing, as well as post-judgment interest allowed by law.

                                   FIRST CLAIM FOR RELIEF
                                  (Negligence – Defendant Carroll)

          26.   Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each Claim for Relief so far as necessary to this Claim for Relief, as if set forth verbatim
  herein.

         27.     Defendant Carroll owed the public, including the Plaintiff, a duty to exercise
  reasonable care in the operation of the subject Peterbilt tractor and semi-trailer unit.

           28.    Defendant Carroll negligently operated the Peterbilt tractor and flatbed semi-
  trailer, which negligence includes but is not limited to: cutting the corner by starting the left turn
  before reaching the center of the intersection and off-tracking of the semi-trailer into the adjacent
  lane; improper routing and hazard perception and recognition; improper space management;
  improper space management and failure to keep a proper lookout; failure to know and adjust to
  presence of vehicles in adjacent lane; and crashing semi-trailer into Plaintiff’s car in the adjacent
  lane, sending it onto the center median.
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          29.     Defendant Carroll negligently caused the semi-trailer of the unit he was operating
  to cross into the inside left turn lane occupied by Plaintiff, causing the semi-trailer to crash into
  Plaintiff's vehicle and propelling it onto the center median.

        30.      Defendant Carroll operated the Peterbilt tractor and semi-trailer on a public
  highway in a careless and reckless manner resulting in injury to the Plaintiff.

          31.     As a direct and proximate result of Defendant Carroll’s acts and omissions,
  Plaintiff sustained injuries, damages, and losses as set forth in the Preliminary Allegations.

         WHEREFORE, the Plaintiff prays for relief as is more particularly hereinafter set forth.

                               SECOND CLAIM FOR RELIEF
                             (Negligence Per Se – Defendant Carroll)

          32.   Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each Claim for Relief so far as necessary to this Claim for Relief, as if set forth verbatim
  herein.

          33.    Defendant Carroll operated the Peterbilt tractor and semi-trailer trailer unit in
  violation of applicable municipal ordinances and/or Colorado state statutes, including, but not
  limited to: C.R.S., Section 42-4-1402(1)(2)(B) (Careless Driving-Causing Injury); Section 42-4-
  1007(1)(a) (Driving in Multiple Lanes); and C.R.S., Section 42-4-1401 (Reckless Driving).

          34.    Plaintiff Julie Getzel is a member of the class of persons sought to be protected by
  said ordinances and statutes and suffered the type of harms against which the laws were designed
  to protect.

         35.    Defendant Carroll’s violation of said ordinances and statutes constitutes
  negligence per se.

          36.     As a direct and proximate result of Defendant Carroll’s negligence per se,
  Plaintiff sustained injuries, damages, and losses as set forth in the Preliminary Allegations.

         WHEREFORE, the Plaintiff prays for relief as is more particularly hereinafter set forth.

                               THIRD CLAIM FOR RELIEF
                          (Respondent Superior – Vicarious Liability
              – Defendant ATS Specialized and/or Defendant Anderson Trucking)

          37.    Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each claim of relief, so far as necessary to this Claim for Relief, as though set forth verbatim
  herein.
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         38.    At all times pertinent to this action, Defendant Carroll was acting within the
  course and scope of his employment and/or agency with Defendant ATS Specialized and/or
  Defendant Anderson Trucking.

          39.     Defendant ATS Specialized and/or Defendant Anderson Trucking is vicariously
  liable for the acts and omissions of Defendant Carroll at all times pertinent to this collision under
  the doctrine respondent superior.

         40.    As a result of Defendant Carroll’s acts and omissions for which Defendant ATS
  Specialized and/or Defendant Anderson Trucking is vicariously liable, Plaintiff suffered injuries,
  damages, and losses as set forth in the Preliminary allegations.

         WHEREFORE, the Plaintiff prays for relief as is more particularly hereinafter set forth.


                                FOURTH CLAIM FOR RELIEF
                   (Negligent Business Operations including Negligent Routing
               – Defendant ATS Specialized and/or Defendant Anderson Trucking)

          41.     Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each claim of relief, so far as necessary to this Claim for Relief, as though set forth verbatim
  herein.
          42.     Defendant ATS Specialized and/or Defendant Anderson Trucking had a duty to
  the motoring public, including Plaintiff, exercise reasonable care in its business operations
  including to dispatch, schedule, direct, and/or route its tractor with semi-trailers so as not to
  require its truck drivers to make hazardous left turns in city traffic, risking the off-tracking of the
  semi-trailer into an adjacent lane, endangering the motoring public, such as the Plaintiff.

          43.     Defendant ATS Specialized and/or Defendant Anderson Trucking failed to
  exercise reasonable care in its business operations including but not limited to negligently
  dispatching, scheduling, directing, and/or routing its truck drivers in a manner that required them
  to make hazardous left turns in city traffic, of which it knew or should have known risks off-
  tracking of the semi-trailer into an adjacent lane, endangering the motoring public, such as the
  Plaintiff.

          44.     As a direct and proximate result of the direct and acts and omissions of Defendant
  ATS Specialized and/or Defendant Anderson Trucking, Plaintiff sustained injuries, damages, and
  losses as set forth in the Preliminary Allegations.

                                 FIFTH CLAIM FOR RELIEF
                       (Negligent Training, Supervision, and Entrustment
               – Defendant ATS Specialized and/or Defendant Anderson Trucking)

          45.    Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each claim of relief, so far as necessary to this Claim for Relief, as though set forth verbatim
  herein.
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          46.     Defendant ATS Specialized and/or Defendant Anderson Trucking failed to
  adequately and properly train, monitor, and supervise its truck driver Carroll, resulting in the
  subject collision.

           47.     Defendant ATS Specialized and/or Defendant Anderson Trucking knew or should
  have known at the time of the entrustment of the Peterbilt tractor with semi-trailer that driver
  Carroll was likely to make left turns in city traffic with the subject Peterbilt tractor and semi-
  trailer which he was not competent and/or capable to execute without off-tracking of the semi-
  trailer into an adjacent lane, resulting in the subject collision.

          48.     As a direct and proximate result of the direct acts and omissions of Defendant
  ATS Specialized and/or Defendant Anderson Trucking in failing to adequately and properly
  train, monitor, and supervise truck driver Carroll, Plaintiff sustained injuries, damages, and
  losses as set forth in the Preliminary Allegations.

          49.      As a direct and proximate result of the direct acts and omissions of Defendant
  ATS Specialized and/or Defendant Anderson Trucking in negligently entrusting its Peterbilt
  tractor with flatbed semi-trailer to driver Carroll, Plaintiff sustained injuries, damages, and losses
  as set forth in the Preliminary Allegations.

                                SIXTH CLAIM FOR RELIEF
                    (Anderson Trucking Service Inc. – Vicarious Liability for
                     Defendant ATS Specialized Inc., and Defendant Carroll)

          50.    Plaintiff incorporates by reference the Preliminary Allegations and the allegations
  of each claim of relief, so far as necessary to this Claim for Relief, as though set forth verbatim
  herein.

         51.   Upon information and belief, at all times pertinent, Defendant Anderson is a
  family-owned business.

         52.   Defendants Anderson and ATS Specialized, at all times pertinent, both have the
  same corporate office address listed as, 725 Opportunity Drive, P.O. Box 1377, Saint Cloud,
  MN.

        53.     Defendant Anderson and ATS Specialized, at all times pertinent, both have the
  same business address in Gary, Indiana.

        54.    Defendant Anderson and ATS Specialized, at all times pertinent, both have the
  same Chief Executive Officer (CEO).

        54.     Defendants Anderson and ATS Specialized, at all times pertinent, both have the
  same Treasurer or Chief Financial Officer (CFO).

         55.    Defendants Anderson and ATS Specialized, at all times pertinent, both have the
  same secretary.
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         56.      Both Defendant Anderson and ATS Specialized, at all times pertinent, have
  common officers and a common business purpose.
         57.      The phone number listed on the website for ATS Specialized, at all times
  pertinent, is answered by Defendant Anderson.

         58.     Defendant ATS Specialized, at all times pertinent, was registered as foreign
  corporation in Indiana by the secretary of Defendant Anderson.

        59.    Upon information and belief, at all times pertinent, the officers and directors listed
  on ATS Specialized's application for operating authority are the same as the individuals listed on
  Defendant Anderson's corporate filings.

          60.    Defendant Anderson refers to ATS Specialized as its heavy equipment transport
  unit.

         61. Upon information and belief Defendant Anderson directs, manages and controls
  the business operations of ATS Specialized.

        62.    The subject tractor involved in the collision specific to this action is registered to
  Defendant Anderson.

        63.     The tractor involved in the collision specific to this action operates under a DOT
  number registered to Defendant ATS Specialized.

         64.     Upon information and belief, at all times pertinent, ATS Specialized is an
  instrumentality of Defendant Anderson.

           65.   Upon information and belief, at all times pertinent, Defendant ATS Specialized is
  a unit, department, or division of Defendant Anderson.

          66.     Upon information and belief, at all times pertinent, Defendant ATS Specialized
  takes its business direction from Defendant Anderson.

         67.    Upon information and belief, at all times pertinent, ATS Specialized does not
  operate independent of the goals of Defendant Anderson.

         68.    Defendant Anderson is directly and/or vicariously liable for the act and omissions
  of Defendant ATS Specialized, including both the direct and vicarious liability of Defendant
  ATS Specialized.

         69.    Defendant Carroll was acting within the course and scope of his employment
  and/or agency with Defendant Anderson and/or ATS Specialized.

        70.     Defendant Anderson and/or ATS Specialized are vicariously liable for the acts
  and omissions of Defendant Carroll under the doctrine Respondent Superior.
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          71.     As a result of Defendant Carroll’s acts and omissions for which Defendant
  Anderson and/or ATS Specialized are vicariously liable, Plaintiff suffered injuries, damages, and
  losses as set forth in this Complaint.

         WHEREFORE, the Plaintiff prays for relief as is more particularly hereinafter set forth.

                                    REQUEST FOR RELIEF

          WHEREFORE, Plaintiff requests the Court to enter judgment for Plaintiff, and against
  Defendants, and each of them, and award Plaintiff her compensatory damages in an amount to be
  determined at trial; plus interest pursuant to C.R.S. §13-12-101, and post judgment interest as
  allowed by law; costs including expert witness fees; attorney fees as allowed by law if there be
  any frivolous or groundless denial, defense, or affirmative defenses; and for such other and
  further relief as the Court may deem proper and just.

                                             JURY DEMAND

          Demand is hereby made for a trial by jury of six persons.


                                                      Respectfully submitted,

                                                      BABICH LAW FIRM, LLC
                                                      [Original signature on file at
                                                      BABICH LAW FIRM, LLC]

                                                      /s/ William Babich
                                                      William Babich, #11162
                                                      2750 S. Wadsworth Blvd.
                                                      Suite C-206
                                                      Denver, Colorado 80227
                                                      303-691-5222

                                                      and

                                                      LAW FIRM OF JEREMY ROSENTHAL
                                                      [Original signature on file at
                                                      LAW FIRM OF JEREMY ROSENTHAL]

                                                      /s/ Jeremy Rosenthal
                                                      Jeremy Rosenthal, #34538
                                                      4100 E. Mississippi Ave., Floor 19
                                                      Denver, Colorado 80246


  Plaintiff’s Address:
  1654 Walker St.
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   Erie, CO 80516
